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 5
     Attorney for Defendant,
 6   TANEKA NUNLEY

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 08-65-LKK

11               Plaintiff,                               STIPULATION AND ORDER

12        vs.                                             DATE: August 9, 2011
                                                          TIME: 9:15 AM
13   TANEKA NUNLEY,                                       JUDGE: Hon. Lawrence Karlton

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Leras, Assistant U.S. Attorney, and defendant Taneka Raenee Nunley, by and through her

18   attorney, Dan Koukol, that the status conference of August 9, 2011 be vacated and that a status

19   conference be set for September 13, 2011 at 9:15 AM.

20          This continuance is being requested because the parties are in the final stage of plea

21   negotiation. It is anticipated that a resolution of this matter will occur shortly.

22          //

23          //

24          //

25          //
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 1          Counsel agree that the time between the signing of the requested order and September 13,

 2   2011 will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A)

 3   and (B) (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are

 4   outweighed by the interests of justice in permitting counsel adequate time to prepare.

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 6
     DATED: AUGUST 5, 2011                        Respectfully submitted,
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 8                                                /s/ DAN KOUKOL
                                                  _________________________________
 9                                                DAN KOUKOL
                                                  Attorney for defendant Taneka Nunley
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11
     DATED: AUGUST 5, 2011                        Respectfully submitted,
12

13                                                /s/ DAN KOUKOL FOR
                                                  _________________________________
14                                                Todd Leras
                                                  Assistant U.S. Attorney
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16                                               ORDER

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            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
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     August 9, 2011, status conference be continued to September 13, 2011, at 9:15 a.m. Based on
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     the representation of defense counsel and good cause appearing there from, the Court hereby
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     finds that the failure to grant a continuance in this case would deny defense counsel reasonable
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     time necessary for effective preparation, taking into account the exercise of due diligence. The
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     Court specifically finds that the ends of justice to served by granting a continuance outweigh the
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     best interests of the public and the defendant in a speedy trial. It is ordered that time up to and
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     including the September 13, 2011 status conference shall be excluded from computation of time
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                                                 -2-
       Case 2:08-cr-00065-TLN Document 98 Filed 08/09/11 Page 3 of 3


 1   within which the trial of this matter must commence under the Speedy Trial Act pursuant to 18

 2   U.S.C. 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense counsel reasonable time

 3   to prepare.

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 5   DATED: August 8, 2011

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